          Case 1:21-cv-01751-RDM Document 23 Filed 11/16/21 Page 1 of 1



                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

 QUYNH BAIN,

                 Plaintiff,

                          v.
                                                     Civil Action No. 21-01751 (RDM)
 OFFICE OF THE ATTORNEY GENERAL,
 et al.,

                 Defendants.


                        NOTICE OF SUBSTITUTION OF COUNSEL

        The Clerk of the Court will please enter the appearance of Assistant United States

 Attorney Blake Weiner as counsel of record for the Defendant in the above-captioned case

 and remove Assistant United States Attorney Joseph Carilli as counsel for Defendant.

Date: November 16, 2021
       Washington, DC

                                              Respectfully submitted,


                                                /s/ Blake Weiner
                                              Blake Weiner
                                              VA Bar # 94087
                                              Assistant United States Attorney
                                              555 Fourth Street, N.W.
                                              Washington, D.C. 20530
                                              Phone: (202) 803-1604
                                              Fax: (202) 252-2599
                                              Blake.Weiner@usdoj.gov

                                             Attorney for the United States of America
